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UNITED sTA'rEs DISTRICT COURT _ ` ‘~' _
FOR THE WESTERN DISTRICT 0F TENNEssf'EdUti -6 AH 6= 50
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§o§§§r n. eit_mot.f_[e
\F{/o` ’ -`j Ezii-:`i.APH:s`
BARBARA erLINGHAM, * “ " `~
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Plaintiff, *
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v. * No. 03-%569=13¢11
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woRLDwn)E MoRTGAGE CORP., ET AL., r
:t¢
Defendants. *
'Jr

 

MOTION FOR EXTENSION OF TIME TO RESPOND TO NOVASTAR’S
REQUESTS FOR ADMISSIONS AND, IN THE ALTERNATIVE, FOR LEAVE
TO WITHDRAW ANY AND ALL ADMISSIONS DEEMED ADMITTED

 

COMES NOW Plaintiff, Barbara Willingham, by her undersigned attorneys, and
moves the court pursuant to Rule 36(b) of the F ederal Rules of Civil Procedure, for an
order granting Plaintiff an extension of time from April 21, 2005 until May 9, 2005 to
serve responses to Novastar’s Requests for Adrnissions and, in the altemative, to
withdraw any and all responses deemed admitted

ln support of the Motion, the Plaintiff relies upon her Memoranda in Support of
their Motions to Extension of Time and, in the Alternative, for Withdrawal of
Admissions and their Certiticates of Consultation, filed contemporaneously herewith

WI-IEREFORE, Plaintiff moves this Court for an extension of time, until May 9,

2005, within which to respond to the Requests for Admissions, WffolwkeAfN-l-ED
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withdrawal of any or all of its responses deemed admitted

this document entered on the docket sheet in compliance
with Fiu!e 58 and/or 79(&} FHCP On Q"'?_@S"

ERNICE BOUIE DONALD
U.S. DISTRICT JUDGE

 
 

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Dated: May 9, 2005 .

  

R pe tfully submitted,

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`W““eT»b A_ Br@wer # 9030

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Counsel foi' Plaintiffs

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CERTIFICATE OF SERVICE

The undersigned hereby certifies that a copy of the foregoing Requests for
Extension of time for Responses to Requests for Admissions were served by regular

United States Mail this the 9th day of May 2005, on the following:

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thice of Distributicn

This notice confirms a copy cfthe document docketed as number 102 in
case 2:04-CV-02391 was distributed by faX, mail, or direct printing on
June 9, 2005 to the parties listed.

EsSEE

 

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Honorable Bernice Donald
US DISTRICT COURT

